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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Shawn Jensen, et al.,                             No. CV-12-00601-PHX-ROS
10                 Plaintiffs,                         ORDER
11   v.
12   David Shinn, et al.,
13                 Defendants.
14
15         The parties request the Court redact the following portions of the trial transcript to
16   protect the privacy of several ADCRR prisoners’ personal information.
17         Good cause appearing,
18         IT IS THEREFORE ORDERED the Joint Motion to Redact (Doc. 4305) is
19   GRANTED. The following portions of the trial transcript are redacted.
20             a. November 3, 2021 (am), page 436, lines 16-18 (ADCRR prisoner number)
21             b. November 3, 2021 (pm), page 582, lines 9-13 (Prisoner patient names)
22             c. November 5, 2021 (am), page 951, lines 20-24 (Prisoner patient names and
23                ADCRR number)
24             d. November 10, 2021 (am), page 1665, lines 13-14 (Prisoner patient name and
25                ADCRR number)
26             e. November 19, 2021 (pm), page 3075, line 19 (Prisoner patient name)
27             f. November 19, 2021 (pm), page 3187, line 7 and line 9 (Prisoner patient
28                name)
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 1         IT IS FURTHER ORDERED The Clerk of Court shall send a copy of this Order
 2   to azddb_appealtranscriptrequest@azd.uscourts.gov.
 3         Dated this 28th day of March, 2022.
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 6                                                 Honorable Roslyn O. Silver
 7                                                 Senior United States District Judge

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